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               1 MICHAEL W. BIEN – 096891                           ALAN SCHLOSSER – 049957
                   GAY C. GRUNFELD – 121944                         MICAELA DAVIS – 282195
               2   VAN SWEARINGEN – 259809                          AMERICAN CIVIL LIBERTIES UNION
                   MICHAEL FREEDMAN – 262850                        FOUNDATION OF NORTHERN
               3   KRISTA STONE-MANISTA – 269083                    CALIFORNIA, INC.
                   SARAH P. ALEXANDER – 291080                      39 Drumm Street
               4   ROSEN BIEN                                       San Francisco, California 94111-4805
                   GALVAN & GRUNFELD LLP                            Telephone:    (415) 621-2493
               5   315 Montgomery Street, Tenth Floor               Facsimile:    (415) 255-8437
                   San Francisco, California 94104-1823             Email:        aschlosser@aclunc.org
               6   Telephone:    (415) 433-6830                                   mdavis@aclunc.org
                   Facsimile:    (415) 433-7104
               7   Email:        mbien@rbgg.com
                                 ggrunfeld@rbgg.com
               8                 vswearingen@rbgg.com
                                 mfreedman@rbgg.com
               9                 kstone-manista@rbgg.com
                                 spalexander@rbgg.com
              10
                   JAMES EGAR – 065702                              ERIC BALABAN (admitted pro hac vice)
              11   Public Defender                                  CARL TAKEI – 256229
                   DONALD E. LANDIS, JR. – 149006                   NATIONAL PRISON PROJECT of the
              12   Assistant Public Defender                        AMERICAN CIVIL LIBERTIES UNION
                   OFFICE OF THE PUBLIC DEFENDER                    915 15th Street N.W., 7th Floor
              13   COUNTY OF MONTEREY                               Washington, D.C. 20005-2302
                   111 West Alisal Street                           Telephone:     (202) 393-4930
              14   Salinas, California 93901-2644                   Facsimile:     (202) 393-4931
                   Telephone:     (831) 755-5806                    Email:         ebalaban@npp-aclu.org
              15   Facsimile:     (831) 755-5873                                   ctakei@npp-aclu.org
                   Email:         EgarJS@co.monterey.ca.us
              16                  LandisDE@co.monterey.ca.us

              17 Attorneys for Plaintiffs
              18                                 UNITED STATES DISTRICT COURT

              19                                NORTHERN DISTRICT OF CALIFORNIA

              20 JESSE HERNANDEZ et al., on behalf of              Case No. CV 13 2354 PSG
                   themselves and all others similarly situated,
              21                                                   DECLARATION OF GAY
                                  Plaintiffs,                      CROSTHWAIT GRUNFELD IN
              22                                                   OPPOSITION TO CFMG’S MOTION
                          v.                                       TO STRIKE THE REPORT OF
              23                                                   MICHAEL PUISIS, D.O. AND IN
                 COUNTY OF MONTEREY; MONTEREY                      SUPPORT OF MOTIONS FOR CLASS
              24 COUNTY SHERIFF’S OFFICE; CALIFORNIA               CERTIFICATION AND
                 FORENSIC MEDICAL GROUP,                           PRELIMINARY INJUNCTION
              25 INCORPORATED, a California corporation; and
                 DOES 1 to 20, inclusive,                          Judge: Hon. Paul S. Grewal
              26                                                   Date: October 28, 2014
                                  Defendants.                      Time: 10:00 a.m.
              27                                                   Crtrm.: 28

              28                                                   Trial Date:      September 8, 2015
[1326124-2]                                                                                    CV 5:13 2354 PSG
                       DECL. OF GAY CROSTHWAIT GRUNFELD IN OPP. TO CFMG’S MOTION TO STRIKE REPORT OF
                       MICHAEL PUISIS, D.O. AND ISO MOTIONS FOR CLASS CERTIFICATION & PRELIM. INJUNCTION
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               1         I, Gay Crosthwait Grunfeld, declare:
               2         1.     I am a member of the Bar of this Court, partner in the law firm, Rosen, Bien,
               3 Galvan & Grunfeld LLP, and counsel for the plaintiffs in this litigation. I have personal
               4 knowledge of the facts stated herein and if called as a witness, I could and would
               5 competently so testify. I make this declaration in Opposition to Defendant CFMG’s
               6 Motion to Strike the Report of Michael Puisis, D.O., and in Support of Plaintiffs’ Motions
               7 for Class Certification and for a Preliminary Injunction.
               8         2.     On July 26, 2013, counsel for Plaintiffs and Defendants CFMG and County
               9 of Monterey signed an agreement to identify and retain joint neutral experts to review
              10 conditions at the Monterey County Jail (the “July 26 Agreement”). Under the July 26
              11 Agreement, the parties were required to (1) agree upon four neutral experts to “conduct on-
              12 site evaluations of the medical and mental health care provided in the Jail, as well as
              13 compliance and general standards of ADA accessibility and accommodation, and
              14 classification and violence prevention[]” and (2) engage in settlement discussions two
              15 weeks after the completion of the expert reports. The July 26 Agreement also specified
              16 that “[t]he experts will determine the materials that they need to undertake their review of
              17 the conditions and to make recommendations. Defendants will promptly make these
              18 materials available to the experts working within the confines of federal and state law,
              19 including HIPAA, and will provide access to the Jail, its staff, and to prisoners.” The
              20 parties agreed that “[w]ithin 90 days of their selection, the experts will submit written
              21 reports setting forth their findings and recommendations” and that “[t]hese reports will be
              22 admissible in court as evidence.”
              23         3.     The July 26 Agreement set August 5, 2013 as the deadline to agree on the
              24 four experts. As part of the July 26 Agreement, this Court entered a separate Stipulation
              25 and Order staying the litigation until January 1, 2014, to allow the July 26 Agreement to be
              26 implemented.
              27         4.     As described more fully in the Declaration of Michael W. Bien in Opposition
              28 to CFMG’s Motion to Strike the Report of Michael Puisis, D.O., and in Support of
[1326124-2]                                                                                 CV 5:13 2354 PSG
                                                            1
                      DECL. OF GAY CROSTHWAIT GRUNFELD IN OPP. TO CFMG’S MOTION TO STRIKE REPORT OF
                      MICHAEL PUISIS, D.O. AND ISO MOTIONS FOR CLASS CERTIFICATION & PRELIM. INJUNCTION
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               1 Plaintiffs’ Motion for Class Certification and Preliminary Injunction, filed herewith,
               2 counsel worked diligently to exchange information about potential experts and to agree
               3 upon the four who were ultimately selected. Peter Bertling, counsel for CFMG, Susan
               4 Blitch, counsel for the County of Monterey, Michael Bien and I extensively emailed and
               5 conducted several telephone conferences as we exchanged the names and resumes of the
               6 potential neutral experts. Once the four experts were agreed upon, they began work.
               7 Under the July 26 Agreement, the experts each had 90 days to complete their reports.
               8         5.     In connection with the review of the Jail, CFMG counsel Mr. Bertling took
               9 sole responsibility for communicating with the neutral medical expert, Dr. Puisis, and the
              10 neutral mental health expert, Dr. Hayward. After selecting Dr. Puisis, Mr. Bertling sent
              11 him a description of the scope of his review and some requested documents, as reflected in
              12 certain emails on which I was copied, true and correct copies of which are attached hereto
              13 as Exhibit A. The scope of review for Dr. Puisis came from the July 26 Agreement and
              14 was copied verbatim from that Agreement into an email from Mr. Bertling to Dr. Puisis, as
              15 follows:
              16         The Health Care expert will determine whether Defendants’ system for
                         providing medical care in the jail is adequate, including, but not limited to,
              17         whether Defendants provide medically necessary treatments in a timely
                         manner, provide a sufficient number of qualified health care professionals,
              18         properly train and supervise the conduct of health care staff, provide
                         sufficient facilities for medical care, have created an adequate screening and
              19         intake process to identify and treat medical care issues faced by newly
                         arriving prisoners, have a reliable and timely manner for alerting health care
              20         staff of prisoners’ medical needs, maintain adequate, accurate, and complete
                         medical care records, make referrals to outside specialists and hospitals when
              21         higher levels of care are needed, and provide appropriate medical care
                         follow-up. ….
              22
                         In determining whether “adequate” medical and mental health is being
              23         provided to inmates at the Monterey County Jail, the experts will be guided
                         by federal and state laws, including, but not limited to Title 15 of the
              24         California Administrative Code, §§1200-1220 and related definitions set
                         forth in Article I, 42 U.S.C. [§] 1983 and the federal law which defines
              25         “deliberate indifference” to an inmate’s serious medical or mental health care
                         needs.
              26
              27 See Exhibit A. Plaintiffs’ counsel was not part of any telephone conversations with
              28 Dr. Puisis as he planned his subsequent site visit to the Jail, nor were we present during his
[1326124-2]                                                                                       CV 5:13 2354 PSG
                                                                2
                      DECL. OF GAY CROSTHWAIT GRUNFELD IN OPP. TO CFMG’S MOTION TO STRIKE REPORT OF
                      MICHAEL PUISIS, D.O. AND ISO MOTIONS FOR CLASS CERTIFICATION & PRELIM. INJUNCTION
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               1 tour of the Jail.
               2         6.     Mr. Bertling agreed to copy Plaintiffs’ counsel on his communications with
               3 Dr. Puisis and Dr. Hayward. Attached hereto as Exhibit B is a true and correct copy of an
               4 email exchange dated August 22 and September 9, 2013, in which Mr. Bertling promises
               5 to “provide [me] with a copy of non-privileged documentation [he] send[s] to Dr. Hayward
               6 and Dr. Puisis.”
               7         7.     As a result of discovery subsequently taken in this case, I have since learned
               8 that Plaintiffs’ counsel was not always copied on communications with the neutral experts.
               9 For example, attached hereto as Exhibit C are true and correct copies of emails produced
              10 to my office on August 5, 2014, in response to a subpoena to Dr. Hayward. These emails
              11 are from Mr. Bertling and his office and from County Counsel Michael Philippi to
              12 Dr. Hayward on which Plaintiffs’ counsel were not copied. As another example, after
              13 issuing a draft report in this case, Dr. Hayward performed a second tour of the Jail and
              14 drafted an updated report without the knowledge of Plaintiffs’ counsel. Attached hereto as
              15 Exhibit D is a true and correct copy of the letter I sent Mr. Bertling and Ms. Blitch on June
              16 19, 2014, informing defense counsel that “I was surprised to receive an email from
              17 Dr. Hayward on May 31, 2014 enclosing a final report” that referenced a second visit to
              18 the Jail.
              19         8.     Both Mr. Bertling and Ms. Blitch repeatedly asked Plaintiffs’ counsel to not
              20 communicate with the experts. Attached hereto as Exhibit E are true and correct copies of
              21 emails from Mr. Bertling to me dated October 6 and 8, 2013, informing me that I should
              22 not have a conference call with Dr. Hayward and counsel. Both CFMG and the County
              23 wished to control the documents received by the experts, the items reviewed by the
              24 experts, and the Jail visits by the experts.
              25         9.     Neither I nor anyone else in my office had any direct communications with
              26 Dr. Puisis from the time he was selected to serve as a neutral in this case (on or about
              27 August 16, 2013) until the day I received a copy of Dr. Puisis’s draft report, “Monterey
              28 County Jail Health Care Evaluation,” on November 7, 2013, which is described more fully
[1326124-2]                                                                                 CV 5:13 2354 PSG
                                                            3
                      DECL. OF GAY CROSTHWAIT GRUNFELD IN OPP. TO CFMG’S MOTION TO STRIKE REPORT OF
                      MICHAEL PUISIS, D.O. AND ISO MOTIONS FOR CLASS CERTIFICATION & PRELIM. INJUNCTION
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               1 below.
               2         The Parties Agreed to a Stipulated Protective Order That All Believed
                       Complied with HIPAA, It Was Entered by the Court on October 9, 2013, and
               3                      All Four Experts Agreed to Be Bound By It
               4          10.   The July 26 Agreement specifically contemplated that “the Parties will
               5 mutually agree to a protective order that is in compliance with federal and state law and
               6 that safeguards the inmates’ confidential medical information.” Consistent with the
               7 July 26 Agreement, in order to enable the experts to review medical and mental health
               8 information and to ensure the confidentiality of sensitive Jail plans, I prepared a draft
               9 protective order and sent it to all counsel on September 12, 2013. A true and correct copy
              10 of my email and the attachments are attached hereto as Exhibit F.
              11          11.   On September 20, 2014, I convened a conference call with Peter Bertling and
              12 Susan Blitch to discuss their concerns with regard to the proposed protective order. As
              13 part of that conference call, I requested comments and edits from the County and CFMG.
              14 Attached hereto as Exhibit G is a true and correct copy of an email chain, dated
              15 September 18, 2013, through October 3, 2013, between me, Ms. Blitch, Mr. Bertling, and
              16 neutral expert SZS Consulting, discussing the Protective Order and the parties’ proposed
              17 changes. On September 26, 2013, the County circulated proposed changes to the
              18 Protective Order. Attached hereto as Exhibit H is a true and correct copy of the County’s
              19 proposed redlined changes. After another conference call on October 7, 2013, I circulated
              20 redlined revisions to the protective order to counsel on that same day. Attached hereto as
              21 Exhibit I is a true and correct copy of my email to Mr. Bertling and Ms. Blitch and the
              22 attached redlined protective order.
              23          12.   At no time during these discussions did Mr. Bertling inform me of his
              24 current view that the proposed protective order failed to meet the requirements of the
              25 Health Insurance Portability and Accountability Act of 1996 (“HIPAA”). To the contrary,
              26 all counsel agreed that a principal purpose in entering into a protective order was to
              27 comply with HIPAA. Ms. Blitch specifically raised the issue of HIPAA, and added
              28 changes to the Protective Order to ensure that HIPAA-protected information would be
[1326124-2]                                                                                 CV 5:13 2354 PSG
                                                               4
                      DECL. OF GAY CROSTHWAIT GRUNFELD IN OPP. TO CFMG’S MOTION TO STRIKE REPORT OF
                      MICHAEL PUISIS, D.O. AND ISO MOTIONS FOR CLASS CERTIFICATION & PRELIM. INJUNCTION
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               1 covered. See Exhibits G & H, supra.
               2         13.     After sending the redlined revisions to counsel on October 7, 2013, each
               3 agreed to sign the protective order. Attached hereto as Exhibit J is a true and correct copy
               4 of the communications from Mr. Bertling and Ms. Blitch in that regard. I submitted the
               5 final, fully executed Stipulation and Proposed Protective Order to the Court on October 8,
               6 2013, and it was entered as an Order on October 9, 2013. Mr. Bertling assumed
               7 responsibility for getting Dr. Puisis and Dr. Hayward to sign the Protective Order.
               8 Dr. Puisis’s Disclosure of the 29 Patients Whose Charts He Reviewed—Subject to the
                                       Protective Order–Did Not Violate HIPAA
               9
              10         14.     On November 6, 2013, Dr. Puisis issued his draft neutral report. On
              11 November 7, 2013, I received a copy of Dr. Puisis’s draft report from Mr. Bertling. I
              12 promptly informed Dr. Puisis that Plaintiffs’ counsel would be commenting on the draft
              13 neutral report. Attached hereto as Exhibit K are true and correct copies of the initial set of
              14 emails between Mr. Bertling, Ms. Blitch, my co-counsel, and me on November 7, 2013.
              15         15.     Dr. Puisis’s draft neutral report included an appendix describing his review
              16 of 29 medical charts to inform his opinions on the quality of medical care provided at the
              17 Monterey County Jail. In another email dated November 7, 2013, a true and correct copy
              18 of which is attached hereto as Exhibit L, I asked Dr. Puisis to “[p]lease copy us on the list
              19 of patient identifiers; we are covered by the attached Protective Order and agree that the
              20 patients’ identifiers are Confidential pursuant to that Order.” Dr. Puisis replied to my
              21 email, copying Mr. Bertling and Ms. Blitch, as well as Mr. Bien and co-counsel Mr. Egar,
              22 with a list of the patient identifiers. See Declaration of Peter Bertling in Support of Motion
              23 to Strike, Dkt. Nos. 182-1 through 182-6, 184-1 through 184-3, Exhibit D. Since receiving
              24 that list, I have taken no steps to disseminate it to anyone. I have not filed it in the Court
              25 even under seal. I have not used the list for any purpose to date, including to find new
              26 plaintiffs, as Mr. Bertling alleges.
              27         16.     After reviewing the draft report, I sent Dr. Puisis a letter, copied to all
              28 counsel, requesting additional information as to certain topics, a true and correct copy of
[1326124-2]                                                                                      CV 5:13 2354 PSG
                                                               5
                      DECL. OF GAY CROSTHWAIT GRUNFELD IN OPP. TO CFMG’S MOTION TO STRIKE REPORT OF
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               1 which is attached hereto as Exhibit M. My letter suggested a conference call with all
               2 parties, to which Dr. Puisis, Mr. Bertling, and Ms. Blitch ultimately agreed in a series of
               3 emails, true and correct copies of which are attached hereto as Exhibit N. The telephone
               4 conference occurred on November 21, 2013, at approximately 4:30 p.m., Pacific Standard
               5 Time. During the course of the telephone conference, Dr. Puisis emphasized that he was
               6 waiting for comments and additional information from Defendant CFMG, but that he had
               7 not yet received what he was requesting.
               8         17.    Shortly after the conference call, Dr. Puisis sent all counsel an email
               9 responding to the questions raised in my letter, a true and correct copy of which is attached
              10 hereto as Exhibit O.
              11         18.    Neither at the time Dr. Puisis sent me the list of patient identifiers, nor during
              12 the course of setting up and conducting the telephone conference, did Mr. Bertling ever
              13 suggest that dissemination of the patient names to me under the Protective Order
              14 constituted a violation of HIPAA. To the contrary, Mr. Bertling and Ms. Blitch expressed
              15 concern that our new co-counsel, who had recently appeared in the case, had not yet signed
              16 the Protective Order. In response, I immediately provided Mr. Bertling and Ms. Blitch
              17 acknowledgements of the Protective Order from our co-counsel. Attached hereto as
              18 Exhibit P is a true and correct copy of an email exchange with Mr. Bertling and
              19 Ms. Blitch transmitting the signed Protective Order acknowledgments.
              20          Dr. Puisis Repeatedly Requested Additional Information from CFMG
                           Prior to Issuing His Final Report, But Did Not Receive a Response
              21
              22         19.    As a result of the November 21, 2013 telephone conference, Dr. Puisis
              23 agreed to share with Plaintiffs’ counsel recent communications he had had with CFMG.
              24 True and correct copies of Dr. Puisis’s communications are attached hereto as Exhibit Q.
              25 In these communications, Dr. Puisis repeatedly asks Mr. Bertling and Mr. Harness for
              26 additional information, but he apparently received no response from CFMG. See
              27 Exhibit O, supra.
              28         20.    On November 29, 2013, Dr. Puisis submitted his final report. Attached
[1326124-2]                                                                                   CV 5:13 2354 PSG
                                                             6
                      DECL. OF GAY CROSTHWAIT GRUNFELD IN OPP. TO CFMG’S MOTION TO STRIKE REPORT OF
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               1 hereto as Exhibit R is a true and correct copy of Dr. Puisis’s email, copied to all counsel,
               2 noting the changes he had made in issuing his final report. From the time I received
               3 Dr. Puisis’s final report to present, I have had no communications with Dr. Puisis.
               4         Plaintiffs Alerted Defendants in September 2014 as to a Possible Issue with the
                                              Protective Order Requiring Revisions
               5
               6           21.    In August 2014, my office became aware through a third-party subpoena that
               7 the Protective Order in this case failed to include a clause governing the destruction or
               8 return of documents at the end of litigation that may be required by the HIPAA regulations
               9 set forth in 45 C.F.R. § 164.512(e). My associate Sarah P. Alexander alerted Defendants
              10 to this concern on September 8, 2014. See Declaration of Sarah P. Alexander filed
              11 September 25, 2014, Dkt. No. 122, ¶ 3 & Ex. B. Ms. Alexander sent Defendants
              12 Plaintiffs’ suggested revisions to the Parties’ Protective Order and requested that
              13 Defendants respond by September 12, 2014. Id., ¶ 3. Neither Ms. Alexander nor anyone
              14 else in my office heard from Defendants by that date as to whether they would sign the
              15 revised Protective Order.
              16           22.    Instead, on September 17, 2014, I received a letter from Mr. Bertling and
              17 Ms. Saunders informing me that CFMG would seek to strike Dr. Puisis’s report because
              18 the parties’ previous Protective Order was allegedly not HIPAA compliant. See Exhibit E
              19 to Declaration of Peter G. Bertling in Support of Motion to Strike Dr. Puisis’s Report.
              20 Dr. Hayward had also forwarded to my office patient-identifying information pursuant to a
              21 subpoena. Mr. Bertling’s letter did not mention Dr. Hayward’s release of information nor
              22 did it suggest that CFMG would move to strike Dr. Hayward’s report.
              23 / / /
              24 / / /
              25 / / /
              26 / / /
              27 / / /
              28 / / /
[1326124-2]                                                                                      CV 5:13 2354 PSG
                                                                  7
                         DECL. OF GAY CROSTHWAIT GRUNFELD IN OPP. TO CFMG’S MOTION TO STRIKE REPORT OF
                         MICHAEL PUISIS, D.O. AND ISO MOTIONS FOR CLASS CERTIFICATION & PRELIM. INJUNCTION
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               1         23.    Subsequent communications between the parties failed to result in
               2 Defendants signing the revised Protective Order. Ultimately Plaintiffs sought the aid of
               3 the Court. See Dkt. No. 123. On October 1, 2014, this Court entered the revised
               4 Protective Order signed by counsel for all parties. See Dkt. No. 305.
               5         I declare under penalty of perjury under the laws of the United States and the State
               6 of California that the foregoing is true and correct, and that this declaration is executed at
               7 San Francisco, California this 14th day of October, 2014.
               8
               9                                              /s/ Gay Crosthwait Grunfeld
                                                              Gay Crosthwait Grunfeld
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[1326124-2]                                                                                   CV 5:13 2354 PSG
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                      DECL. OF GAY CROSTHWAIT GRUNFELD IN OPP. TO CFMG’S MOTION TO STRIKE REPORT OF
                      MICHAEL PUISIS, D.O. AND ISO MOTIONS FOR CLASS CERTIFICATION & PRELIM. INJUNCTION
